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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                  )   Case No. 18-CR-167-GKF
                                            )
                       Plaintiff,           )   SUPERSEDING INDICTMENT
                                            )   [COUNTS 1 through 3: 42 U.S.C.
 v.                                         )   § 1320a-7b(b)(1)(A) – Illegal
                                            )   Remuneration for Health Care
 ADAM GALLARDO                              )   Referrals;
 ARREDONDO,                                 )   COUNT 4: 18 U.S.C. § 1035(a)(1) –
                                            )   False Statements Relating to Health
                       Defendant.           )   Care Matters;
                                            )   Forfeiture Allegation: 18 U.S.C.
                                            )   § 982(a)(7) – Health Care Forfeiture]


                  JOINT MOTION TO DECLARE CASE COMPLEX
                    AND MOTION TO CONTINUE JURY TRIAL
                    AND TO ISSUE NEW SCHEDULING ORDER

      The United States of America, by and through its attorney, Melody Noble Nelson, and

Defendant Adam Gallardo Arredondo, by and through his attorneys, Michael P. Gibson

and Matthew Paul Swain, moves the Court to find that this is a complex case requiring

extended litigation under the provisions of the Speedy Trial Act, 18 U.S.C.

§3161(h)(7)(B)(ii). In addition, the parties request that the Court strike the jury trial

currently set for October 15, 2018 (Dkt. #11) and set a status conference to determine a

new trial date and adopt a new scheduling order. In support of this motion, the parties

submit the following for the Court’s consideration:

      1. On August 8, 2018, a federal Grand Jury returned an Indictment charging Mr.

         Arredondo with two counts of receipt of kickbacks in violation of 42 U.S.C. §
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      1320a-7b(b)(1)(A), the Medicare Anti-kickback Act. Mr. Arredondo made his

      initial appearance and was arraigned on August 30, 2018. (Dkt. #15).

   2. On September 7, 2018, the Grand Jury returned a Superseding Indictment adding

      two additional counts in violation of 42 U.S.C. § 1320a-7b(b)(1)(A), the Medicare

      Anti-kickback Act and one count of false statement relating to health care matters,

      in violation of 18 U.S.C. § 1035(a)(1), as well as forfeiture allegations. (Dkt. #17).

      Mr. Arredondo’s arraignment on the superseding indictment is scheduled for

      September 19, 2018.

   3. The charges against Mr. Arredondo stem from a four-year investigation of a

      compounding pharmacy previously located in the Northern District of Oklahoma.

   4. The Government has provided counsel for Mr. Arredondo a hard drive with 51,285

      files, containing approximately 226,379 pages of discovery. Due to the length and

      complexity of the investigation and the amount of discovery provided to counsel for

      Mr. Arredondo, a ruling that the case is complex is necessary to allow Defendant

      and his counsel adequate time to review, organize and analyze discovery.

   5. Mr. Arredondo and one of his attorneys, Michael Gibson, live in Texas. The

      witnesses in this case live in Oklahoma and Texas, thus requiring travel to interview

      witnesses and gather any documents for Mr. Arredondo’s defense.

   6. The parties agree that this is not a typical case in federal district court. The Speedy

      Trial Act contains statutory provisions to address the atypical, complex case based

      on the quantity of discovery and the complexity of the case.               18 U.S.C.

      §3161(h)(7)(B)(ii) states:
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      (B) The factors, among others, which a judge shall consider in determining whether
      to grant a continuance under subparagraph (A) of this paragraph in any case are as
      follows:
                                              ***
             (ii)   Whether the case is so unusual or complex due to… the nature of the
                    prosecution, or the existence of novel questions of fact or law, that it
                    is unreasonable to expect adequate preparation for pretrial
                    proceedings or for the trial itself within the time limits established by
                    this section.

   7. For the reasons set forth above, this case will require an above-average amount of

      time to allow counsel to prepare for trial. In addition, Mr. Arredondo’s lead counsel,

      Michael Gibson, has multiple upcoming trials set in the Northern District: United

      States vs. Martin Salvador Rodriquez, Case No. 3:16-CR-00536-L, set for a two-

      week trial beginning on January 22, 2019; United States vs. Jacobo Geissler, Case

      No. 3:15-CR-496-L, set for an eight-week trial beginning on March 6, 2019; and

      United States vs. Dehshid Nourian, Case No. 3:15-CR-496-L, set for a six-week

      trial beginning on June 10, 2019.

   8. Both parties request that this Court find this case to be complex within the meaning

      of the Speedy Trial Act. Further, the parties request the Court vacate the present

      scheduling dates and schedule a status conference to adopt an appropriate

      scheduling order.

   9. A proposed order has been submitted to the Clerk of the Court as required by Local

      Criminal Rule 47.3.
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   WHEREFORE, the parties request that the Court vacate the present scheduling dates

and set this matter for a status conference to enable the parties to jointly discuss and review

with the Court a scheduling order that will reasonably permit defense counsel time to

adequately prepare for pretrial motions, hearings, and jury trial.


                                           Respectfully submitted,

                                           R. TRENT SHORES
                                           UNITED STATES ATTORNEY



                                           /s/ Melody Noble Nelson
                                           Melody Noble Nelson, OBA NO. 16467
                                           Assistant United States Attorney
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of September, 2018, I electronically transmitted
the foregoing document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrant:

   Michael P. Gibson
   Matthew Paul Swain



                                           /s/ Melody Noble Nelson
                                           Assistant United States Attorney
